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7
                             UNITED STATES DISTRICT COURT
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                            EASTERN DISTRICT OF CALIFORNIA
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     DIMAS O'CAMPO,                        No.   2:16-cv-01767-TLN-CMK
11
                       Plaintiff,
12
             v.                            PRETRIAL SCHEDULING ORDER
13
     ANDREA L SILVER, et al.,
14
                       Defendants.
15

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17           After reviewing the parties’ Joint Status Report, the Court

18   makes the following Pretrial Scheduling Order.

19           I.       SERVICE OF PROCESS

20           All named Defendants have been served and no further service

21   is permitted without leave of court, good cause having been

22   shown.

23           II.      ADDITIONAL PARTIES/AMENDMENTS/PLEADINGS

24           No joinder of parties or amendments to pleadings is

25   permitted without leave of court, good cause having been shown.

26           III.     JURISDICTION/VENUE

27           Jurisdiction is predicated upon 28 U.S.C. §§ 1331, 1343 and

28   1367.        Jurisdiction and venue are not contested.
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1          IV.    DISCOVERY

2          All discovery, with the exception of expert discovery, shall

3    be completed by November 15, 2018.         In this context, “completed”

4    means that all discovery shall have been conducted so that all

5    depositions have been taken and any disputes relative to

6    discovery shall have been resolved by appropriate order if

7    necessary and, where discovery has been ordered, the order has

8    been obeyed.    All motions to compel discovery must be noticed on

9    the magistrate judge’s calendar in accordance with the local

10   rules of this Court.

11         Any request to deviate from the Federal Rules of Civil

12   Procedure should be made to the assigned Magistrate Judge.

13         V.     DISCLOSURE OF EXPERT WITNESSES

14         All counsel are to designate in writing, file with the

15   Court, and serve upon all other parties the name, address, and

16   area of expertise of each expert that they propose to tender at

17   trial not later than January 10, 2019.1          The designation shall be

18   accompanied by a written report prepared and signed by the

19   witness.    The report shall comply with Fed. R. Civ. P.

20   26(a)(2)(B).
21         Within twenty (20) days after the designation of expert

22   witnesses, any party may designate a supplemental list of expert

23   witnesses who will express an opinion on a subject covered by an

24   expert designated by an adverse party.

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27   1
       The discovery of experts will include whether any motions based on Daubert
     v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579 (1993) and/or Kumho Tire
28   Co. v. Carmichael, 119 S. Ct. 1167 (1999) are anticipated.
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1          The right to designate a supplemental expert for rebuttal

2    purposes only shall apply to a party who has not previously

3    disclosed an expert witness on the date set for expert witness

4    disclosure by this Pretrial Scheduling Order.

5          Failure of a party to comply with the disclosure schedule as

6    set forth above in all likelihood will preclude that party from

7    calling the expert witness at the time of trial.         An expert

8    witness not appearing on the designation will not be permitted to

9    testify unless the party offering the witness demonstrates: (a)

10   that the necessity for the witness could not have been reasonably

11   anticipated at the time the list was proffered; (b) that the

12   Court and opposing counsel were promptly notified upon discovery

13   of the witness; and (c) that the witness was promptly made

14   available for deposition.

15         For purposes of this Pretrial Scheduling Order, an “expert”

16   is any person who may be used at trial to present evidence under

17   Rules 702, 703, and 705 of the Federal Rules of Evidence, which

18   include both “percipient experts” (persons who, because of their

19   expertise, have rendered expert opinions in the normal course of

20   their work duties or observations pertinent to the issues in the
21   case) and “retained experts” (persons specifically designated by

22   a party to be a testifying expert for the purposes of

23   litigation).

24         Each party shall identify whether a disclosed expert is

25   percipient, retained, or both.       It will be assumed that a party

26   designating a retained expert has acquired the express permission
27   of the witness to be so listed.

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1         Parties designating percipient experts must state in the

2    designation who is responsible for arranging the deposition of

3    such persons.

4         All experts designated are to be fully prepared at the time

5    of designation to render an informed opinion, and give their

6    bases for their opinion, so that they will be able to give full

7    and complete testimony at any deposition taken by the opposing

8    party.     Experts will not be permitted to testify at the trial as

9    to any information gathered or evaluated, or opinion formed,

10   after deposition taken subsequent to designation.

11        Counsel are instructed to complete all discovery of expert

12   witnesses in a timely manner in order to comply with the Court’s

13   deadline for filing dispositive motions.

14        VI.      MOTION HEARING SCHEDULE

15        All dispositive motions, except motions for continuances,

16   temporary restraining orders or other emergency applications,

17   shall be heard no later than May 16, 2019.

18        All purely legal issues are to be resolved by timely

19   pretrial motions.      Local Rule 230 governs the calendaring and

20   procedures of civil motions with the following additions:
21        (a) The opposition and reply must be filed by 4:00 p.m. on

22               the day due; and

23        (b) When the last day for filing an opposition brief falls

24               on a legal holiday, the opposition brief shall be filed

25               on the last court day immediately preceding the legal

26               holiday.
27        Failure to comply with Local Rule 230(c), as modified by

28   this order, may be deemed consent to the motion and the court may
                                          4
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1    dispose of the motion summarily. Further, failure to timely

2    oppose a summary judgment motion2 may result in the granting of

3    that motion if the movant shifts the burden to the nonmovant to

4    demonstrate that a genuine issue of material fact remains for

5    trial.

6          The Court places a page limit for points and authorities

7    (exclusive of exhibits and other supporting documentation) of

8    twenty (20) pages on all initial moving papers, twenty (20) pages

9    on oppositions, and ten (10) pages for replies.           All requests for

10   page limit increases must be made in writing to the Court setting

11   forth any and all reasons for any increase in page limit at least

12   fourteen (14) days prior to the filing of the motion.

13         For the Court’s convenience, citations to Supreme Court

14   cases should include parallel citations to the Supreme Court

15   Reporter.

16         The parties are reminded that a motion in limine is a

17   pretrial procedural device designed to address the admissibility

18   of evidence.    The Court will look with disfavor upon

19   dispositional motions presented in the guise of motions in

20   limine.
21         The parties are cautioned that failure to raise a

22   dispositive legal issue that could have been tendered to the

23   court by proper pretrial motion prior to the dispositive motion

24   cut-off date may constitute waiver of such issue.

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       The Court urges any party that contemplates bringing a motion for summary
     judgment or who must oppose a motion for summary judgment to review Local Rule
28   260.
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1         VII.    TRIAL SETTING

2         The parties are ordered to file a Joint Notice of Trial

3    Readiness not later than thirty (30) days after receiving this

4    Court’s ruling(s) on the last filed dispositive motion(s).           If

5    the parties do not intend to file dispositive motions, the

6    parties are ordered to file a Joint Notice of Trial Readiness not

7    later than one hundred twenty (120) days after the close of

8    discovery and the notice must include statements of intent to

9    forgo the filing of dispositive motions.

10        The parties are to set forth in their Notice of Trial

11   Readiness, the appropriateness of special procedures, their

12   estimated trial length, any request for a jury, their

13   availability for trial, and if the parties are willing to attend

14   a settlement conference.      The parties’ Notice of Trial Readiness

15   Statement shall also estimate how many court days each party will

16   require to present its case, including opening statements and

17   closing arguments.     The parties’ estimate shall include time

18   necessary for jury selection, time necessary to finalize jury

19   instructions and instruct the jury.

20        After review of the parties’ Joint Notice of Trial
21   Readiness, the Court will issue an order that sets forth dates

22   for a Final Pretrial Conference and Trial.

23        VIII. SETTLEMENT CONFERENCE

24        The parties may request a settlement conference prior to the

25   Final Pretrial Conference if they feel it would lead to the

26   possible resolution of the case.         In the event a settlement
27   conference date is requested, the parties shall file said request

28   jointly, in writing.     The request must state whether the parties
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1    waive disqualification, pursuant to Local Rule 270(b), before a

2    settlement judgment can be assigned to the case.         Absent the

3    parties’ affirmatively requesting that the assigned Judge or

4    Magistrate Judge participate in the settlement conference AND

5    waiver, pursuant to Local Rule 270(b), a settlement judge will be

6    randomly assigned to the case.

7         In the event a settlement conference is set by the Court,

8    counsel are instructed to have a principal with full settlement

9    authority present at the Settlement Conference or to be fully

10   authorized to settle the matter on any terms.         At least seven (7)

11   calendar days before the settlement conference, counsel for each

12   party shall submit to the chambers of the settlement judge a

13   confidential Settlement Conference Statement.         Such statements

14   are neither to be filed with the Clerk nor served on opposing

15   counsel.   Each party, however, shall serve notice on all other

16   parties that the statement has been submitted.         If the settlement

17   judge is not the trial judge, the Settlement Conference Statement

18   shall not be disclosed to the trial judge.

19        XI.     COURTESY COPIES

20        No party shall submit paper courtesy copies of pleadings or
21   exhibits to the Court unless expressly ordered to do so.

22        X.      VOLUNTARY DISPUTE RESOLUTION PROGRAM

23        Pursuant to Local Rule 271, parties may stipulate at any

24   stage in the proceedings to refer the action, in whole or in

25   part, to the Voluntary Dispute Resolution Program.

26        XI.     MODIFICATION OF PRETRIAL SCHEDULING ORDER
27        The parties are reminded that pursuant to Rule 16(b) of the

28   Federal Rules of Civil Procedure, the Pretrial Scheduling Order
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1    shall not be modified except by leave of court upon a showing of

2    good cause.    Agreement by the parties pursuant to stipulation

3    alone to modify the Pretrial Scheduling Order does not constitute

4    good cause.    Except in extraordinary circumstances,

5    unavailability of witnesses or counsel will not constitute good

6    cause.

7         XII.     OBJECTIONS TO PRETRIAL SCHEDULING ORDER

8         This Pretrial Scheduling Order will become final without

9    further order of the Court unless objections are filed within

10   fourteen (14) days of service of this Order.

11        IT IS SO ORDERED.

12   DATED: January 25, 2018

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15                                               Troy L. Nunley
                                                 United States District Judge
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